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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



IN RE GEORGIA SENATE BILL 202                       Master Case No.
                                                    1:21-MI-55555-JPB



       CERTIFICATE OF SERVICE FOR STATE DEFENDANTS’
           NOTICE OF RULE 30(b)(6) DEPOSITION AND
         AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION

      Pursuant to Local Rule 5.4, I hereby certify that on February 22, 2023,

the State Defendants served a Notice of Rule 30(b)(6) Deposition of League of

Women Voters of Georgia, Inc. by electronic mail on counsel for all parties in

this action; and

      I further certify that on February 22, 2023, State Defendants served an

Amended Notice of Rule 30(b)(6) Deposition of Black Voters Matter Fund by

electronic mail on counsel for all parties in this action.

February 22, 2023                     Respectfully submitted,

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